Case 2:15-cv-00057-CAS-JC Document 68-3 Filed 07/16/18 Page 1 of 13 Page ID #:453
                         DEPARTMENT OF VETERANS AFFAIRS
                                 OFFICE OF RESOLUTION MANAGEMENT
                              11301 Wilshire Boulevard Building 220, 2nd Floor
                                           Los Angeles, CA 90073


                                                                                 In reply refer to: 08H
     October 26, 2017

     VIA: Regular Mail

     Marilyn Gladle



     SUBJECT: Notice of Receipt of your Discrimination Complaint No. 200P-
     0691-2017103863, Filed October 3, 2017

     1. This letter acknowledges receipt of your discrimination complaint. The official
     filing date of your complaint is October 3, 2017, based on the date your E-mail
     was received. This notice also provides you with written notification of your
     rights, as well as the time requirements for exercising those rights.

     2. If your claims are accepted, your case will be assigned to an impartial
     investigator under the supervision of the Office of Resolution Management
     (ORM). The investigator will contact you directly in order to obtain information or
     evidence you may wish to offer. The investigation must be completed within 180
     calendar days of the filing of your complaint. You will be provided with a copy of
     the investigative file upon completion and you will be advised, in writing, of your
     right to request a Final Agency Decision (FAD) from the Office of Employment
     Discrimination Complaint Adjudication (OEDCA), or a hearing by an
     administrative judge appointed by the Equal Employment Opportunity
     Commission (EEOC).

     3. If the investigation has not been completed within the 180 calendar-day time
     limit, regulations permit the agency and the complainant to agree, in writing, to
     extend the investigative period for not more than 90 calendar days. ORM will
     make every good faith effort to complete the investigation within the prescribed
     period. However, where workload demands make it impossible to complete a
     timely investigation, we will work with you to seek mutual agreement to extend
     the period so that the investigation can be completed before you seek an EEOC
     hearing or a final agency decision from OEDCA.

     4. You must keep this office advised of any change of address. Failure to do so
     could lead to dismissal of your complaint. You must also immediately advise this
     office, in writing, of the name, address, and telephone number of any person you
     may choose to represent you in this matter. All subsequent actions on your
     complaint will be mailed or delivered to your representative, with copies to you,
     unless you advise us in writing that you are no longer represented by that
     individual.




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     Page 2
     Notice of Receipt


     5. The EEOC encourages the use of Alternative Dispute Resolution (ADR) to
     resolve EEO complaints at the lowest possible level. Agencies and complainants
     can realize many advantages from using ADR. ADR offers the parties the
     opportunity for an early, informal resolution of disputes in a mutually satisfactory
     fashion. Please see the Mediation Program Information Sheet enclosed. If you
     are interested in using mediation to address the issues raised in your complaint,
     please contact the ADR Director at workplaceadr@va.gov.

                                                 Sincerely,




                                                 Sophia Eaves
                                                 Pacific District Manager

     Enclosures: Mediation Program Information Sheet
                 Counselor’s Report




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                      MEDIATION PROGRAM INFORMATION SHEET

     What Is Mediation?

     Mediation is an informal way for employees to address disputes with a fellow
     employee, manager, or colleague. In mediation, a neutral person called a
     mediator helps two or more persons explore ways to resolve their differences
     and reach an agreement that best addresses their interests. Mediation allows
     the parties to create their own unique solutions, instead of taking the problem to
     an outside decision-maker and having that person’s solution imposed on them.

     Mediation does not focus on who is right and who is wrong. It focuses on
     forward thinking and solving the problem. The mediator has no authority to make
     decisions for the parties. The parties decide what is important to each of them
     and make decisions based on those factors. The mediator helps the parties
     communicate, make informed decisions by understanding and listening to each
     other, and work together to create options and acceptable solutions.

     Why Should I Request Mediation?

     While conflict is a natural part of our daily lives, unresolved disputes may become
     unproductive and negatively impact the work environment. In these instances,
     mediation can save time and resources for all involved. Mediation can improve
     communication and prevent future misunderstandings. Mediation provides an
     opportunity to discuss sensitive issues and concerns in a private setting.
     Mediation helps the parties to look realistically at the best and worst case
     alternatives to resolving the dispute, and when possible, develop mutually
     satisfactory solutions. By agreeing to mediate, neither party gives up any rights
     to other processes that may be available to address the dispute. Parties can
     designate a representative to attend the mediation and provide support and
     advice during the process.

     How Does Mediation Fit Into The EEO Process?

     An individual who has initiated the EEO complaint process may advise an Office
     of Resolution Management (ORM) EEO counselor of his/her interest in mediation
     as opposed to EEO counseling. The EEO counselor will inquire and find out if
     the Agency is willing to participate in mediation. If so, the pre-complaint process
     will be extended for no more than 90 calendar days from the individual’s date of
     initial contact with the EEO counselor to allow the parties to mediate. If
     mediation does not resolve the matter, the EEO counselor will advise the
     individual of his/her right to file a formal EEO complaint.

     After a formal EEO complaint has been filed, the complainant may request
     mediation at any time during the processing of his/her complaint. If the Agency


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     agrees to mediate, the processing of the EEO complaint will be held in abeyance
     for no more than 90 calendar days from the date of the request to mediate. If the
     complaint is not resolved in mediation, the EEO complaint process resumes at
     the point mediation was requested.

     How Do I Begin The Mediation Process?

     The mediation process is initiated by contacting the ORM official assigned to the
     EEO complaint or ORM’s ADR Program Office. If the request does not involve
     an issue of fraud, waste, abuse, criminal activity, sexual harassment, or removal
     for cause, the other party involved in the dispute will be contacted to see if (s)he
     is amenable to mediation. If the other party is willing to mediate, the ORM ADR
     Program Office or Facility ADR Coordinator obtains mediators from within VA or
     another Federal agency, depending on the parties’ preference. In some
     instances, where a party is a member of the bargaining unit, the union may be
     notified of and invited to participate in the mediation session.

     What Happens During The Mediation Session?

     Generally, the mediator begins with an introduction, explaining the process, each
     party’s role, and establishing ground rules. Then, each party is afforded an
     opportunity to share information about the dispute. The mediator may continue
     with all parties in a joint session, exploring ways to address the issues raised or
     the mediator may meet separately with each party in private caucuses. Any
     information shared only with the mediator will be kept confidential unless
     permission is given to the mediator to disclose to the other party. If the parties
     can find common ground and agree to terms, those terms are documented in an
     agreement.

     What If An Agreement Is Reached?

     A written agreement is drafted and signed by all necessary parties. Once the
     agreement is signed by all parties, the contract is binding and enforceable. The
     parties may agree not to disclose the terms of the agreement to those who do not
     have a need to know; however, the document itself is not confidential and may
     be disclosed to establish compliance.

     What If An Agreement Is Not Reached?

     If mediation was elected during the EEO complaint process, the process
     resumes at the point mediation was requested.

     What If I Have More Questions?

     If you would like additional information, please contact the ORM ADR Program
     Office at workplaceadr@va.gov.


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                         DEPARTMENT OF VETERANS AFFAIRS
                                 OFFICE OF RESOLUTION MANAGEMENT
                              11301 Wilshire Boulevard Building 220, 2nd Floor
                                           Los Angeles, CA 90073




  October 26, 2017

  VIA: Electronic Mail                                                       In reply refer to: 08H

  Ann Brown, Director
  Department of Veterans Affairs
  Greater Los Angeles Health Care System
  11301 Wilshire Blvd.
  Los Angeles, CA 90073

  SUBJECT: Notice of Receipt of Discrimination Complaint – Marilyn Gladle, Case
  No. 200P-0691-2017103863, Filed October 3, 2017

  1. This is to inform you that Marilyn Gladle filed an EEO complaint of discrimination on
  October 3, 2017.

  2. ORM is reviewing the complaint to determine if it meets the Equal Employment
  Opportunity Commission’s (EEOC) requirements for investigation and further
  processing. You will be provided a copy of the procedural determination letter.

  3. We have enclosed a document outlining what you can expect next as the complaint
  is processed.
                                        Sincerely,




                                                 Sophia Eaves
                                                 Pacific District Manager

  Enclosures: What to Expect During the Complaint Process
              Counselor’s Report

  cc. VHAGLAEEO@VA.GOV




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                        WHAT TO EXPECT DURING THE COMPLAINT PROCESS


     WHY DID I RECEIVE THIS NOTICE?
     You received the Notice of Receipt because an employee, applicant, or former employee
     under your chain has filed a formal complaint of discrimination.

     WHAT HAPPENS NEXT?
     If ORM dismisses the complaint, the complainant can appeal the decision to the EEOC.
     If ORM accepts the complaint, in whole or in part, we will assign an investigator.

     WHAT CAN MANAGEMENT EXPECT AT THE INVESTIGATIVE PHASE?
     The investigator will develop impartial and appropriate factual information on the claims
     accepted for processing. ORM must complete the investigation within 180 days of the
     date the formal complaint was filed (for mixed case claims1 ORM must complete the
     investigation within 120 days), so we need the cooperation of all witnesses, including
     management officials.

     After the investigation is completed, ORM will send you a summary of the investigation.
     You should review the summary and determine if resolution should be attempted. ORM
     is available to consult or provide a mediator at this stage.

     WHAT OCCURS AFTER THE INVESTIGATION?
     The employee can elect an EEOC hearing or a final agency decision from OEDCA (the
     complainant does not have the right to an EEOC hearing on mixed case claims). If a
     hearing is elected, your management officials will work with the agency representative
     (usually a Chief Counsel attorney) to prepare for the hearing.

     WHEN DOES THE PROCESS END?
     The employee can also file in U.S. District Court after 180 days have elapsed from the
     formal filing date or after the case has been adjudicated (120 days for mixed case
     claims). If that occurs Regional Counsel works with a U.S. Attorney from the
     Department of Justice.




     For more information on the EEO complaint process and ORM, please visit ORM’s
                             website: http://www.va.gov/orm/




     1A mixed case complaint alleges an action that is appealable to the MSPB was taken for
     discriminatory reasons.


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                                                              EXHIBIT 2-12
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Stenhouse, Whitney (ORM)

From:                      Stenhouse, Whitney (ORM)
Sent:                      Thursday, October 26, 2017 4:18 PM
To:                        Brown, Ann R.
Cc:                        vhaglaeeo@va.gov
Subject:                   Official Correspondence
Attachments:               NOR Gladle 103863 Fac.pdf


Dear Ma’am,

Please find attached EEO correspondence concerning your facility.

If you have questions, please contact the point of contact referenced in the attached correspondence.

Respectfully,

Whitney Stenhouse
EEO Assistant
Department of Veterans Affairs
Office of Resolution Management
Pacific District
Office: (310) 478-3711 ext.48054
Fax: (310) 268-4089




VA Core Values: Integrity Commitment Advocacy Respect Excellence
VA Core Characteristics: Trustworthy | Accessible | Quality | Innovative | Agile | Integrated

 “Thank you for contacting the Office of Resolution Management. Our goal is to provide you with exceptional customer
service. Please take a moment to complete a very brief survey to let us know how my service was today”
Click Here

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